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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


 Southcentral Foundation,                     Case No. 3:17cv-

                            Plaintiff,        COMPLAINT FOR DECLARATORY
                                              JUDGMENT
 vs.

 Alaska Native Tribal Health Consortium,

                            Defendant.


       Plaintiff Southcentral Foundation (“SCF”) states and alleges as follows:

                                     INTRODUCTION

       1.    Congress established by federal law a specific mechanism for tribal

management and governance of all the programs and services provided by the Alaska

Native Medical Center (“ANMC”). A dispute has arisen between Plaintiff SCF and

Defendant Alaska Native Tribal Health Consortium (“ANTHC”) regarding ANTHC’s

failure to comply with the governance principles established by Congress in that federal


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law. Plaintiff seeks in this declaratory relief action an Order requiring ANTHC to

comply with those governance requirements mandated by federal law.

                                      THE PARTIES

       2.     Plaintiff SCF is a tribal organization under the Indian Self-Determination

and Education Assistance Act (the “ISDEAA”), 25 U.S.C. § 450b(l), and an Alaska

nonprofit corporation with a principal place of business at 4501 Diplomacy Drive,

Anchorage, Alaska 99508. SCF is one of the Regional Health Entities that formed

ANTHC as an inter-tribal consortium in accordance with federal law, and is a participant

in ANTHC, along with other Regional Health Entities, Indian tribes, and tribal

organizations specified by federal law. SCF is in all ways competent to bring this action.

       3.     Defendant ANTHC is an inter-tribal consortium created in accordance with

federal law, Public Law 105-83, Section 325, enacted on November 14, 1997. ANTHC

is a tribal organization under the ISDEAA and an Alaska nonprofit corporation with a

principal place of business of 4000 Ambassador Drive, Anchorage, Alaska 99508.

                                 JURISDICTION AND VENUE

       4.     This Court has original jurisdiction over this civil action under 28 U.S.C.

§ 1331 because it arises under the laws of the United States (Public Law 105-83, Section

325, enacted November 14, 1997). This Court is authorized to issue the declaratory relief

sought under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

       5.     The United States District Court for the District of Alaska has personal

jurisdiction over the parties.




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       6.     Venue is proper in the District of Alaska because both Plaintiff SCF and

Defendant ANTHC are Alaska nonprofit corporations with principal places of business

located within Alaska.

                                BACKGROUND FACTS

       A.     Creation of ANTHC as Consortium

       7.     The ISDEAA grew out of and affirms the United States’ trust relationship

to Indian tribes. Although the federal government originally administered programs and

provided services directly to Alaska Native and American Indian people, in the early

1970’s federal policy shifted toward empowering tribes to take full responsibility for

managing and operating the federal programs and services that were offered for the

benefit of Alaska Natives and American Indians. See 25 U.S.C. § 450(a)(1) (1983).

       8.     The ISDEAA provides tribes with the authority, control, discretion, and

federal funding to administer the programs, services, functions, and activities the federal

government has a duty to provide, such as healthcare services. 25 U.S.C. § 450f(a)(1).

       9.     In order to accomplish the purposes of the ISDEAA, and in the interest of

tribal self-determination and self-governance, the ISDEAA allows tribes to form a “tribal

organization” that is “controlled, sanctioned, or chartered” by a tribal governing body for

the purpose of administering the health services and programs provided to tribes by the

U.S. Indian Health Service, in a manner that best fits their local regions and communities.

25 U.S.C. §§ 450b(l) and 450f(a).

       10.    Indian tribes and tribal organizations may also form an “inter-tribal

consortium,” which is defined in the ISDEAA as “a coalition of two [sic] more separate

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Indian tribes that join together for the purpose of participating in self-governance,

including tribal organizations.” 25 U.S.C. §458aaa(a)(5).

       11.    Under Title V of the ISDEAA, a tribe, tribal organization, or inter-tribal

consortium may enter into a legally binding and enforceable Self-Determination Compact

with the U.S. Department of Health and Human Services (“DHHS”) that sets forth the

terms and conditions of the self-governance relationship between tribes and DHHS.

25 U.S.C. §450f. Alaska is the only state in the U.S. where tribes and tribal organizations

jointly entered into one statewide multi-party Compact, called the Alaska Tribal Health

Compact, in order to preserve and strengthen the unique Alaska tribal health system and

to avoid competition amongst Alaska tribes and tribal organizations for the scarce federal

funds available to administer tribal health programs and services across the State of

Alaska.

       12.    In addition to the Self-Determination Compact, each tribe, tribal

organization, or inter-tribal consortium also enters into an individual legally binding and

enforceable Funding Agreement with DHHS, which identifies the programs, services,

functions, and activities they will carry out and the congressionally appropriated funds

that will be transferred to them in support of such programs, services, functions, and

activities.

       13.     Congress passed Section 325 of Public Law 105-83 (“Section 325”) to

address its concern about the ability of more than 200 separate Alaska tribes and tribal

organizations to come to an agreement on a plan for the structure of the tribal

management and governance of all the programs and services of ANMC, the facility that

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provides statewide health services to Alaska Natives and American Indians in Alaska

pursuant to the ISDEAA. That law, which was enacted on November 14, 1997, is the law

at issue in this case.

       14.     Section 325 created ANTHC, a consortium of tribal entities, to enter into a

Compact and Funding Agreement with DHHS to provide certain statewide health

services at ANMC, pursuant to the ISDEAA. Because of their common interest in

ensuring that ANTHC fairly and sufficiently allocates scarce financial resources to

ANMC services, and that such ANMC services are equitably delivered statewide, Section

325 requires ANTHC’s tribal entity participants to govern ANTHC collectively and

directly. Section 325 states that ANTHC “shall be governed by a 15-member Board of

Directors” composed of one “representative” from each of the 13 specified Regional

Health Entities that formed ANTHC pursuant to Section 325(a) (so long as the Regional

Health Entity operates a regional health program under the ISDEAA) plus two additional

persons who shall “represent” various Indian tribes and tribal organizations that either

operate health programs that are not affiliated with a Regional Health Entity or do not

receive health services from any tribal, regional, or sub-regional health provider.

       15.     Pursuant to designation by the SCF Board of Directors, Katherine Gottlieb

(“Gottlieb”) serves as SCF’s representative on Defendant ANTHC’s Board of Directors

(“Designated Director”). Gottlieb is also the President and Chief Executive Officer of

SCF. Alex Cleghorn (“Cleghorn”) serves as SCF’s alternate Designated Director on the

ANTHC Board of Directors. Before Cleghorn was so designated, SCF Vice President



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Ileen Sylvester (“Sylvester”) served in that role. Cleghorn is also SCF’s General Counsel

for Business and Intergovernmental Affairs.

       16.    In Section 325, Congress clearly contemplated that ANTHC’s governance

would be collaborative and inclusive. Section 325 states that “[e]ach member of the

Board of Directors shall be entitled to cast one vote. Decisions of the Board of Directors

shall be made by consensus whenever possible, and by majority vote in the event that no

consensus can be reached.”

       17.    Section 325 recognizes that each ANTHC Director is a representative of the

Regional Health Entity, Indian tribes, and sub-regional tribal organizations that

designated him or her to serve on the ANTHC Board of Directors (“Designating Entity”).

Accordingly, each ANTHC Director is expected to present the views and concerns of his

or her Designating Entity in advocating for what the Director believes, in his or her good

faith business judgment, serves the best interests of ANTHC.

       18.    The Alaska Tribal Health Compact with the DHHS, as amended and

restated, confirms that ANTHC “was organized and is controlled by the Alaska Native

tribes and tribal organizations which are represented on its Board of Directors.” Alaska

Tribal Health Compact, as Amended and Restated, page 4 (emphasis added). In press

releases, ANTHC represents to the public that it is a “not-for-profit Tribal health

organization managed by Alaska Native Tribal governments and their regional health

organizations.” See Exhibit A.




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       B.     Contract Support Cost Settlement Funds

       19.    In 2014, after more than a decade of litigation with the U.S. Indian Health

Service, ANTHC and other tribal entities settled their legal claims resulting from the

federal government’s failure to pay its contractual obligations under the ISDEAA.

ANTHC received “a one-time $153 million payment” as a result of the settlement in the

summer of 2014. See Exhibit A.

       C.     Creation of Illegal Executive Committee and Subsequent
              Compensation Decisions

       20.    In November 2014, the ANTHC Board Chair and President sent an email

notice to the Board of Directors that the Board would consider certain amendments to the

ANTHC Bylaws at the Board of Directors’ meeting on December 2-3, 2014, but did not

attach or provide the text of the proposed Bylaw amendments in advance of the meeting.

       21.    At the December 2014 Board meeting, the ANTHC Board of Directors

adopted the Bylaw amendments proposed by the Chair and President, creating a five-

member Executive Committee of the Board comprised of the four officers of the ANTHC

Board and one more ANTHC Director appointed by the Chair. The Chair refused to

entertain almost all questions from Sylvester, SCF’s alternate Designated Director

present at the meeting.

       22.    The authority delegated to the newly-created Executive Committee was

extremely broad and included serving as the ANTHC Board of Directors’ Compensation

Committee. The authority was not limited to acting between Board meetings or in an

emergency situation. Instead, the Executive Committee had the power to do almost all



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acts usually reserved to the full Board of Directors. There was no requirement that the

Committee obtain ratification of its decisions from the full ANTHC Board of Directors,

or even notify that Board of its actions.

       23.    Although the ANTHC Bylaws require all Directors to receive notice of all

Board Committee meetings, the December 2014 Bylaw amendments also purported to do

away with this requirement with respect to the newly-created Executive Committee so

that no ANTHC Directors received notice of any Executive Committee meetings unless

they were members of the Executive Committee.

       24.    The Bylaw amendments effectively delegated the decision-making

authority of the 15-member ANTHC Board to the five ANTHC Directors on the

Executive Committee, who could then govern ANTHC without the knowledge or input of

the other 10 members of the Board of Directors. This put the entire ANTHC Board at

great risk. Under applicable law, all ANTHC Directors are legally responsible for any

acts by the Executive Committee, despite lack of meeting notice or lack of knowledge

about any acts taken by that committee.

       25.    The December 2014 Bylaw amendments also greatly increased the power

and authority of the ANTHC President and split the Chair and President positions into

two distinct roles, so that each position is now separately compensated.

       26.    At the December 2014 ANTHC Board Meeting, the Chair and President

also proposed an evaluation of the compensation paid to ANTHC Directors for the

previous 15 years and the development of a plan to increase the compensation of

Directors, retroactive to incorporation, despite the fact that from 1999-2011 ANTHC’s

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Articles of Incorporation did not permit ANTHC Directors to receive compensation for

their board service. The implicit message to ANTHC Directors was that if they adopted

the Bylaw amendments proposed by the Chair and President, they would be rewarded

later with retroactive compensation.

      27.    At the first Executive Committee meeting in mid-December 2014, two

weeks after its formation, the Executive Committee approved lucrative employment

agreements for certain senior ANTHC executives. This greatly increased the total

compensation paid to the ANTHC President—without notice to or input from the 10

other ANTHC Directors on the Board.

      D.     SCF’s Designated Directors Are Told They Cannot Share ANTHC
             Information with their Designating Entity, SCF.
      28.    After the December 2014 Bylaw amendments were adopted with little or no

discussion or deliberation by the ANTHC Board of Directors, the SCF Designated

Directors, Gottlieb and Sylvester, began asking for information from ANTHC, as is their

absolute legal right as directors of ANTHC. Having learned two months after the fact

that the Executive Committee had approved a new employment contract for the ANTHC

President, SCF Designated Directors Gottlieb and Sylvester asked for the information

considered by the Executive Committee in approving the contract.

      29.    ANTHC refused to provide this information directly to Directors Gottlieb

and Sylvester, and instead showed certain materials to all ANTHC Directors in an

Executive Session at a Special ANTHC Board meeting in April 2015, informing the

Directors that they could neither keep copies of the materials provided in Executive

Session nor share the information with their Designating Entities. Upon written inquiry

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from SCF Designated Directors Gottlieb and Sylvester, the ANTHC General Counsel

later told Directors Gottlieb and Sylvester that any information shared in an Executive

Session of the ANTHC Board, including information about the ANTHC President’s

employment contract, must be treated as confidential and could not be shared with their

Designating Entity, SCF. ANTHC, through its General Counsel, took the position that

SCF has no legal right to information about ANTHC.

      30.    The ANTHC General Counsel’s position that SCF Designated Directors

cannot share with their Designating Entity, SCF, confidential information relating to

ANTHC, such as the amount of the ANTHC President’s compensation, is inconsistent

with Section 325 and Alaska law.

      31.    The ANTHC Board of Directors subsequently approved the proposal to

retroactively increase the compensation for the ANTHC Directors (apparently without

being told that the proposal included a period of time when ANTHC’s Articles of

Incorporation did not permit ANTHC Directors to receive compensation for their Board

service). The details of the retroactive compensation were discussed by the ANTHC

Board of Directors only in Executive Session. Accordingly, SCF Designated Directors

Gottlieb and Sylvester were again told not to share with their Designating Entity, SCF,

the terms of the retroactive Director compensation approved by the ANTHC Board. This

instruction is inconsistent with Section 325 and Alaska law.

      32.    Throughout 2015 and 2016, Directors Gottlieb and Sylvester (and later

Cleghorn) sought to address their concerns with ANTHC, the ANTHC Chair and

President, and the ANTHC General Counsel by proposing various amendments to the

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ANTHC Bylaws and the ANTHC Board of Directors Code of Conduct (“Code of

Conduct”) intended to address the following governance issues: (1) the existence of an

illegal Executive Committee that could act for the entire Board of Directors on most

issues, and (2) the legal rights of Designating Entities like SCF to receive information

about ANTHC pursuant to the governing federal law, Section 325. All efforts to correct

these governance issues failed.

       33.    Prior to filing this lawsuit, Directors Gottlieb and Sylvester repeatedly

asked the ANTHC General Counsel to provide any legal opinions ANTHC had obtained

regarding the corporate governance issues raised by Gottlieb and Sylvester. Although

ANTHC represented that it had obtained the requested legal advice, ANTHC refused to

share it with Directors Gottlieb and Sylvester unless they signed a confidentiality

agreement forbidding them from consulting about the legal opinions with anyone,

including their own personal attorney, and imposing financial penalties and other

consequences if they did so. The agreement significantly amended the ANTHC Board of

Directors Code of Conduct. Directors Gottlieb and Sylvester declined to execute the

confidentiality agreement, and ANTHC thus refused to share with them information they

were absolutely legally entitled to receive as ANTHC directors.

       34.    ANTHC Directors Gottlieb, Sylvester, and Cleghorn have received no

notice of any Executive Committee meetings throughout 2015 and 2016, despite their

requests to be provided such notice.

       35.    Throughout 2016, Designated Directors Gottlieb and Sylvester (and later

Cleghorn) sought to address with ANTHC (including with the Chair and President and

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the ANTHC General Counsel) their concerns regarding the Code of Conduct. Gottlieb,

Sylvester, and Cleghorn recognized that, as ANTHC Directors, they have fiduciary duties

to ANTHC. At the same time, as SCF Designated Directors, pursuant to Section 325,

they also have fiduciary duties to their Designating Entity, SCF, to share with the SCF

Board of Directors ANTHC information and documents provided to them as ANTHC

Directors, as necessary in order to receive advice, input, and direction from the SCF

Board of Directors about the governance of ANTHC.

       36.    ANTHC’s Code of Conduct fails to recognize that Gottlieb, Sylvester, and

Cleghorn have dual fiduciary obligations, to ANTHC and also to SCF, the Designating

Entity they represent on the ANTHC Board of Directors. Rather, contrary to Section

325, ANTHC takes the position that Directors have an undivided duty of loyalty to

ANTHC, without regard to the legal rights or interests of the Designating Entities they

represent on the ANTHC Board of Directors.

       37.    The Code of Conduct purports to restrict the Designated Directors’ ability

to share confidential ANTHC information or documents with their Designating Entities,

suggesting that the Designated Directors may do so only to the extent authorized by the

ANTHC Board of Directors.

       38.    Throughout 2016, SCF made repeated requests to ANTHC to revise the

Code of Conduct to clarify that the Designated Directors have the legal right to access

confidential information and documents relating to ANTHC’s business and operations

and that they do not breach any fiduciary duties to ANTHC by sharing such ANTHC

information and documents with the governing bodies of the Designating Entities they

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represent, provided the Designating Entities agree to maintain the confidentiality of any

such ANTHC information and documents.

       39.    ANTHC refused to adopt SCF’s recommended changes to the Code of

Conduct. Instead, at the ANTHC Board meeting on September 28-29, 2016, the ANTHC

Board of Directors adopted other changes to the Code of Conduct proposed by the Chair

and the ANTHC General Counsel.

       40.    Also at the Board meeting in late September 2016, ANTHC imposed even

more onerous restrictions on the Designated Directors’ ability to share information or

documents regarding ANTHC with their Designating Entities when it adopted a new

Disclosure of Records and Information Policy (the “Disclosure Policy”).

       41.    The Disclosure Policy reconfirmed ANTHC’s position that the Designating

Entities are not legally entitled to information and materials that are presented to the

ANTHC Board of Directors and its committees in executive session. Indeed, the

Disclosure Policy purports to restrict the ANTHC Directors’ ability to access

“confidential, sensitive, proprietary or privileged information” regarding ANTHC. If, in

violation of Alaska law, the SCF Designated Directors are not even provided access to

such information, they are obviously precluded from sharing that information with the

governing body of the Designating Entity they represent, the SCF Board of Directors.

The Disclosure Policy violates Alaska law and Section 325.

       42.    At SCF’s urging, the ANTHC Board of Directors approved at its late

September 2016 meeting amendments to the ANTHC Bylaws that ensure that all

ANTHC Directors receive notice of Executive Committee meetings and that clarify that

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the Executive Committee can exercise the authority of the full ANTHC Board of

Directors only “between meetings if the Board of Directors is unable to meet.” Although

it made those concessions to SCF, the ANTHC Board of Directors failed to amend the

ANTHC Bylaws to require that the actions of the Executive Committee be ratified by the

full ANTHC Board of Directors in order to be effective. To that extent, the Bylaws

continue to violate Section 325, which specifies that all 15 ANTHC Directors shall have

the opportunity to “cast one vote” and that the decisions of the ANTHC Board are to be

“made by consensus” or “by majority vote.” Also at the September 2016 meeting, the

ANTHC Board of Directors transferred the compensation review responsibilities from the

Executive Committee to some other, unspecified ANTHC Board committee.

                      REQUEST FOR DECLARATORY JUDGMENT

       43.    This dispute is ripe for adjudication because a present, actual controversy

exists between SCF and ANTHC with respect to the governance of ANTHC. No

subsequent event or the passage of time will vary the meaning of the relevant statutes or

in any way affect the validity of the requested declaratory judgment.

       44.    Section 325 specifically provides that ANTHC “shall be governed by a 15-

member Board of Directors” composed of one “representative” from each of the specified

13 Regional Health Entities that formed ANTHC pursuant to Section 325(a) (so long as

the Regional Health Entity operates a regional health program under the ISDEAA), plus

two additional persons “who shall represent” various Indian tribes and tribal

organizations that either operate health programs that are not affiliated with a Regional

Health Entity or do not receive health services from any tribal, regional, or sub-regional

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health provider. Section 325 further provides that “[e]ach member of the Board of

Directors shall be entitled to cast one vote. Decisions of the Board of Directors shall be

made by consensus whenever possible, and by majority vote in the event that no

consensus can be reached.”

       45.    SCF contends that Congress, through Section 325, requires ANTHC’s tribal

entity participants to govern ANTHC collectively and directly in order to ensure that the

more than 200 separate Alaska Tribes have a voice in the governance of ANTHC, due to

their common interests in ensuring that ANTHC fairly and sufficiently allocates scarce

financial resources to ANMC services, and that such ANMC services are equitably

delivered statewide.

       46.    Given the governance requirements in Section 325, SCF contends that the

five-member Executive Committee created under ANTHC’s revised Bylaws to govern

ANTHC violates federal law, and is illegal and void. ANTHC disagrees. SCF is entitled

to an order so declaring.

       47.    Given the governance requirements in Section 325, SCF contends that the

Regional Health Entities, Indian tribes, and tribal organizations represented on the

ANTHC Board of Directors are participants in the ANTHC consortium under federal

law, and thus are entitled to all information provided to the ANTHC Directors who are

designated by these entities to represent them on the ANTHC Board. ANTHC disagrees.

SCF is entitled to an order so declaring.

       48.    ANTHC’s Directors Code of Conduct as currently drafted (which is

incorporated by reference in the Bylaws) does not allow Designated Directors to broadly

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share information with their Designating Entities unless specific permission is sought

from and provided by ANTHC and does not recognize the role of the Designating

Entities in the governance of ANTHC. SCF contends that the Code of Conduct, as

currently drafted, conflicts with federal law Section 325, and is illegal and void as

drafted. ANTHC disagrees. SCF is entitled to an order so declaring.

       49.    The Disclosure Policy as currently drafted restricts the Designating

Entities’ ability to access information and materials that are presented to the ANTHC

Board of Directors and its committees in executive session and also restricts the

Designated Directors’ ability to access confidential and privileged ANTHC information.

SCF contends that the Disclosure Policy conflicts with both federal law Section 325 and

Alaska law, and is illegal and void as drafted. ANTHC disagrees. SCF is entitled to an

order so declaring.

       50.    The ANTHC Directors have an absolute legal right to documents and

information regarding ANTHC, and such documents and information cannot be withheld.

SCF contends that ANTHC has violated the rights of its representatives on the ANTHC

board, Directors Gottlieb and Sylvester (and later Cleghorn), in withholding requested

documents and information from them. SCF is entitled to an order so declaring.

       51.    A judicial declaration is necessary and appropriate at this time so that SCF

and its present and future Designated Directors on the ANTHC Board of Directors may

ascertain their rights, duties, and obligations under Section 325 as to the governance of

ANTHC.



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                                PRAYER FOR RELIEF

       For the above-stated reasons, SCF respectfully requests that the Court provide the

following relief:


       1. An order declaring the ANTHC Executive Committee as currently constituted

          to be contrary to federal law, void and without effect, to the extent any action

          of the Executive Committee is deemed valid before it is ratified by the full 15-

          member ANTHC Board, as required by Section 325;

       2. An order declaring SCF and the other Designating Entities specified in Section

          325 to be participants in the ANTHC consortium under the federal law creating

          it, entitled to all documents and information necessary to participate in the

          governance of the consortium, including confidential and/or privileged

          documents and information, provided SCF and the other Designating Entities

          agree to maintain the confidentiality of such documents and information;

       3. An order declaring that SCF’s Designated Directors have an absolute right to

          documents and information as directors of ANTHC, without limitation or

          reservation, and a right and duty to convey such documents and information to

          their Designating Entity, SCF, provided that SCF agrees to maintain the

          confidentiality of such documents and information;

       4. An order declaring that certain Bylaws of ANTHC conflict with federal law

          and must be amended;




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     5. An order declaring that the ANTHC Board of Directors Code of Conduct as

        currently drafted conflicts with federal law and must be amended;

     6. An order declaring that the ANTHC Disclosure Policy as currently drafted

        conflicts with federal law and must be rescinded;

     7. An award for the costs of this suit, including attorneys’ fees;

     8. Any other relief which this Court deems just and proper.

     DATED this 20th day of January 2017, at Anchorage, Alaska.


                                           DORSEY & WHITNEY LLP
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